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 7

 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        Case No. 2:12-CR-0322 MCE
12                      Plaintiff,
13          v.                                        STIPULATION AND ORDER TO
                                                      CONTINUE THE STATUS CONFERENCE
14   TATYANA SHVETS, et. al.,                         FROM DECEMBER 4, 2014 TO MARCH
                                                      26, 2015
15                      Defendants.
16

17          IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,

18   Heiko Coppolla, Assistant United States Attorney, Kenny N. Giffard, attorney for Aleksandr

19   Lastovski, Joseph A. Welch, attorney for Tatyana Shvets, Scott Tedmon, Attorney for Aleksandr

20   Mikhaylov and Richard Nahigian, attorney for Hovik Mkrtchian, that the status conference date

21   of Thursday, December 4, 2014 should be continued to March 26, 2015. The continuance is

22   necessary, as counsel for Shvets has recently entered the case and counsel for all parties are still

23   reviewing discovery, meeting with the respective clients and investigating information as well as

24   researching various possible resolutions.

25          IT IS SO STIPULATED that the period of time from December 4, 2014 up to and

26   including March 26, 2015.

27          Accordingly, the time between December 4, 2014 and March 26, 2015 should be excluded

28   from the Speedy Trial calculation pursuant to Title 18, United States Code, Section
                                                      1
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 1   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends
 2   of justice served by granting this continuance outweigh the best interests of the public and the
 3   defendant in a speedy trial. 18 U.S.C. Section 3161(h)(7)(A).
 4
              December 2, 2014                       /s/ Kenneth Giffard
 5                                                   KENNETH N. GIFFARD
                                                     Attorney for Alexsandr Lastovskiy
 6

 7            December 2, 2014                       /s/ Scott Tedmon
                                                     SCOTT TEDMON
 8                                                   Attorney for Alexsandr Mikhaylov
 9
              December 2, 2014                        /s/ Joseph A. Welch
10                                                   JOSEPH A. WELCH
                                                     Attorney for Tatyana Shvets
11

12            December 2, 2014                       /s/ Richard Nahigian
                                                     RICHARD NAHIGIAN
13                                                   Attorney for Hovik Mkrtchian
14
              December 2, 2014                        /s/ Heiko Coppola
15                                                   HEIKO COPPOLA
                                                     Attorney for the United States
16

17

18                                                  ORDER
19            The status conference presently set for December 4, 2014 at 9:00 A.M., is hereby
20   continued to March 26, 2015 at 9:00 A.M., and time under the Speedy Trial Act will be excluded
21   from December 4, 2014 through March 26, 2015 pursuant to Title 18, United States Code,
22   Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation, based on the
23   representations of the parties in their stipulation.
24   ///
25   ///
26   ///
27   ///
28   ///
                                                        2
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 1   The Court finds that the ends of justice served by granting this continuance outweigh the best
 2   interests of the public and the defendant in a speedy trial.
 3          IT IS SO ORDERED.
 4   DATED: December 2, 2014
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 6                                        _____________________________________________
 7                                        MORRISON  N C. ENGLLAND, JR, C
                                                                       CHIEF JUDG  GE
                                          UNITED ST TATES DISSTRICT COU  URT
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